Case 1:19-cr-20450-RNS Document 148-3 Entered on FLSD Docket 10/17/2022 Page 1 of 12




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA


    UNITED STATES OF AMERICA

          v.                                    Case No. 19-20450-CR-Scola

    ALEX NAIN SAAB MORAN, et al.,

        Defendants.



               DECLARATION OF JUAN CARLOS ARRIECHE GRANADILLO
Case 1:19-cr-20450-RNS Document 148-3 Entered on FLSD Docket 10/17/2022 Page 2 of 12

          [Illegible signature]                      EIGHTH PUBLIC NOTARY OF
       DR. DEMETRIOS SIERRA
               LAWYER
                                                     THE CHACAO MUNICIPALITY
                                                     Received on
       REGISTRATION 137.049
                                                     Form          38/87
                                                     Fixed for the day
                                                     Fees Paid           44/230


               STATEMENT OF JUAN CARLOS ARRIECHE GRANADILLO


        1. I, JUAN CARLOS ARRIECHE GRANADILLO, Venezuelan, holder of the
            identity card No. 12.850, active member of the Bolivarian National Guard
            of Venezuela. I have served in the Venezuelan armed forced for twenty-five
            years. I am employed and paid by the Venezuelan armed forces.
        2. I declare that I have personal knowledge of the facts set out in this statement.
            I am of legal age and competent to testify at the trial of Alex Nain Saab
            Moran.
        3. I have known Alex Nain Saab for approximately twelve years providing
            security and protection since he has worked with the Venezuelan
            government in the carrying out of crucial activities for the nation. For the
            last four years my task has been to serve as Head of Security for Alex Nain
            Saab Moran and his family. In this role I have been responsible for all the
            aspects in relation to the security protocol of the Saab Family and supervised
            a security team. Mr. Alex Saab and the Saab family have benefited from
            State security since 2018 because he is a diplomatic official in the capacity
            of special envoy for Venezuela appointed by the Venezuelan Chancellery.
        4. In general, around 90% of my time is spent in dealing directly with Mr. Saab
            and his family, which includes accompanying him to meetings with
            government officials and other travel within Venezuela.
        5. I know that Mr. Saab is a Diplomatic Envoy because on various occasions
            I have seen his diplomatic passport. I have also been responsible for the
            transport preparations (for example, flights) when Mr. Saab travelled on
            behalf of the Venezuelan Government.
        6. As part of my duties, in June 2020, I accompanied Mr. Saab to a meeting
            with representatives of the Iranian embassy in Caracas. Specifically, on 11
            June 2020 I accompanied Mr. Saab to the presidential residence. I know that
            the meeting was with Iranians, specifically with the Ambassador and his
            staff because on arriving at the delegation I observed his diplomatic vehicles
            and spoke to his security detail.

                                                                                              15/10/2022
Case 1:19-cr-20450-RNS Document 148-3 Entered on FLSD Docket 10/17/2022 Page 3 of 12


        7. In addition to Mr. Saab, I noticed that President Maduro and the First Lady,
           Cilia Flores also attended the meeting in view of the presence of their
           security teams.
        8. The meeting on 11 June 2020 lasted approximately two hours, it was at the
           end of the afternoon. After the meeting I accompanied Mr. Saab back to his
           residence so that he could prepare for a flight he was planning to make to
           Iran.
        9. This same night, upon the instructions of Mr. Saab, I returned to the
           Presidential Palace to collect three (3) official sealed enveloped which
           contained documents, I returned with them to Mr. Saab’s residence. At this
           time, I understood that he intended to leave to Iran at approximately 10:00
           the following morning.
        10. The three items I collected were in three white enveloped bearing
           government shields. I observed that one of the shields was a golden colour
           and the other was multi-coloured. The envelopes were marked as “from the
           Presidency” and “from the Vice-Presidency”. I took them directly to Mr.
           Saab when I returned to his residence.
        11. I saw the envelopes again the following day in Mr. Saab’s briefcase. One of
           my duties was to assist Mr. Saab with his luggage for the journey and I had
           to ensure that he had everything he needed. To do this, I checked his
           briefcase to make sure that he had his telephones, the money he needed to
           travel, his medication, the travel documents and the documents I collected
           the previous night from the Presidential residence. After checking his
           briefcase, I took him to the airport. I took Mr. Saab on board his aircraft.
        12. It was a very small briefcase that was used for small items and his personal
           belongings. Mr Saab had a larger suitcase for clothes and other travelling
           necessities. I also carried this suitcase onto the plane.
        13. The money in Mr. Saab’s briefcase was in the form of cash, arranged in
           bundles and all wrapped up together.
        14. I was at the airport and I saw Mr. Saab's plane leave to Iran that morning of
           12 June 2020. This was the last time I saw Mr. Saab in person.




                                                                                            15/10/2022
Case 1:19-cr-20450-RNS Document 148-3 Entered on FLSD Docket 10/17/2022 Page 4 of 12


          The above was made in accordance with 28 U.S.C. Section 1746, I state,
          under penalty of perjury under the laws of the United States of America,
          that what is stated above is true and accurate.


          Caracas-Venezuela on the date of his attendance.


          [Illegible signature and stamps]


          Juan Carlos Arrieche Granadillo




                                                                                     15/10/2022
Case 1:19-cr-20450-RNS Document 148-3 Entered on FLSD Docket 10/17/2022 Page 5 of 12




                                                                                15/10/2022
Case 1:19-cr-20450-RNS Document 148-3 Entered on FLSD Docket 10/17/2022 Page 6 of 12




                                                                                15/10/2022
Case 1:19-cr-20450-RNS Document 148-3 Entered on FLSD Docket 10/17/2022 Page 7 of 12




                                                                                15/10/2022
 Case 1:19-cr-20450-RNS Document 148-3 Entered on FLSD Docket 10/17/2022 Page 8 of 12
                              Issue Date     14/10/2022    212   and 163
                                                  The Single Banking Form (PUB) has a period of ten continuous days
                                                  within which to be paid. Once the respective payment has been made, it has
Vicepresidency of the Bolivarian.                 a non-extendible period of thirty (30) days to present the document. After
Republic of Venezuela                             this period, the PUB is void and a new PUB must be issued in order to
                                                  conclude the process, with the amount needing to be paid again.
                                                                                                                        38/87
 SINGLE BANKING FORM (PUB)                                          Form No: 070-00335601

                [BAR CODE]
 TYPE OF DOCUMENT                                                                         44/230
 AUTHENTICATION
 SWORN DECLARATION
 Given name and Surname of the Applicant
 JUAN ARRIECHE                                                             Control Number: 488-0000-0000

 ID/RIF/Passport of the Applicant                         Form of Payment                 Cheque No./             Amount (Bs.F.)
 V-12850322                                                                               Approval

 Given name and Surname of the Depositor                  Cash amount
                                                          Cheque same
                                                          Bank
 Signature of the Depositor                               Point of sale

                                  Payment by internet
 ZERO SOVEREIGN BOLIVARS WITH ZERO CENTIMES                                                Total amount                   0.00

SOLELY FOR USE BY SAREN
                  ISSUING                          RECEIVING                     REVISING                   REGISTRAR/
                  OFFICIAL                         OFFICIAL                      OFFICIAL                   NOTARY
Given names and surnames


Identity Card


Position
                                                         Dr. Luis Alfredo Ramirez Montsalve
                                                                  Incumbent notary
Date                                                                  Code 070
Signature                                                     Eighth Public Notary of the
                                                       Chacao Municipality of the Miranda State


           Office Seal                          Collecting Banks                                Seal and Signature of the Bank
                                    0003   - Banco Industrial de Venezuela
                                    0007   - Banco Bicentenario
                                    0102   - Banco de Venezuela
                                    0163   - Banco del Tesoro
                                    0108   - Banco Provincial


             TRANSFER        0.00
             TRANSPORT 0.00
             For Notary Use Only
             EIGHTH PUBLIC NOTARY OF THE CHACAO MUNICIPALITY OF THE MIRANDA STATE
             OBSERVATIONS




                                                                                                                                   15/10/2022
Case 1:19-cr-20450-RNS Document 148-3 Entered on FLSD Docket 10/17/2022 Page 9 of 12


   Vice-Presidency of the Bolivarian
   Republic of Venezuela


   THE BOLIVARIAN REPUBLIC OF VENEZUELA. VICE-PRESIDENCY OF THE BOLIVARIAN REPUBLIC OF VENEZUELA.
   AUTONOMOUS DEPARTMENT OF RECORDS AND NOTARIES (SAREN). PUBLIC NOTARY EIGHT OF THE CHACAO
   AUTONOMOUS MUNICIPALITY OF MIRANDA STATE. 14/10/2022, 212 and 163. The above document drafted by the Lawyer
   DEMETRIOS SIERRA, registered in the Instituto Previsión de Abogados under No. 137.049, was presented for its authentication and return in
   accordance with the Single Banking Form No. 070-00335601 and Notary Form No. 038187 dated 14.10/2022. The following parties were present
   JUAN CARLOS ARRIECHE GRANADILLO, of VENEZUELAN nationality, of legal age, residing in CARACAS, of SINGLE civil status
   and the holder of Identity Card Number: V.-12.850.322. After reading the SWORN DECLARATION document, the parties in the presence of
   the Notary stated: “ITS CONTENT IS TRUE AND OUR SIGNATURES APPEAR AT THE BOTTOM OF THE DEED”. On this basis, the
   Notary declared this Document to be authenticated and the original signed copies will form part of the Principal Volume and Duplicate Volume,
   being inserted under No. 44 Volume 230 of the Register of Authentications of this Notary Office. Witnesses to this deed were: STEFANY
   GAMEZ, and NELSON FRANCO, holders of Identity Card Nos.: V-21.759.154 and V-6.965.178, official of this Notary designated for this
   deed. The Notary states that he read out the provisions of article 78 number 2 of Decree No. 1.422 which sets out the Status, Validity and Force
   of law on Registers and Notaries, published in the Extraordinary Official Gazette No 6.156 dated 19 November 2014 and informed the parties
   of the content, nature, importance and legal consequences of legal acts or transactions granted in his presence as well as the waivers, reserves,
   encumbrances and any other aspect which affects the assets or rights referred to in the legal deed or transaction, who consequently stated that they
   are in full agreement. Having the urgency of the case been sworn, the undersigned notary declares this document to be compliant with article 29
   of the referred to Decree No. 1.422. The undersigned notary states that he has seen: 1. The laminated cards of the parties.
   THE PUBLIC NOTARY                                                                                          THE PARTIES




                                        Dr. Luis Alfredo Ramirez Montsalve
                                               Incumbent notary
                                                   Code 070
                                           Eighth Public Notary of the
   THE WITNESSES                     Chacao Municipality of the Miranda State




   STEFANY GAMEZ




   NELSON FRANCO


                                                           [Illegible signature and stamps]




   ____________________________________________________________________________________________________________________




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Case 1:19-cr-20450-RNS Document 148-3 Entered on FLSD Docket 10/17/2022 Page 10 of
                                      12




                                                                              15/10/2022
Case 1:19-cr-20450-RNS Document 148-3 Entered on FLSD Docket 10/17/2022 Page 11 of
                                      12




                                                                              15/10/2022
Case 1:19-cr-20450-RNS Document 148-3 Entered on FLSD Docket 10/17/2022 Page 12 of
                                      12




                                                                                            15th October 2022




  Dear Sirs,

  Re: Spanish into English Certified Translation - LR-1022-542

  Language Reach Limited is a UK-registered professional translation and interpreting
  company and a fully qualified registered member of The Association of Translation
  Companies (Member No. 2018ATCR1238). We hereby confirm that we have
  translated the enclosed document(s) from Spanish into English.

  As a responsible translation agency we only employ certified linguists to work with
  us. We are satisfied with the linguistic accuracy and hereby confirm that the English
  written translation of the Spanish document(s) represents its fair and accurate
  linguistic message as intended in the original file(s).

  We hereby confirm that this is a true and correct translation and certify the linguistic
  accuracy.

  For more information, please contact Language Reach Limited on +44 (0) 208 677
  3775.

  Yours sincerely,




  Aniello Attianese
  Senior Account Manager




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